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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9   Berkadia Real Estate Advisors LLC,                No. CV-22-00049-TUC-CKJ
10                   Plaintiff,                        ORDER
11   v.
12   Arthur R Wadlund, et al.,
13                   Defendants.
14
15            Defendants/Counterclaimants seek leave of the Court to file a 34-page joint
16   dispositive motion exceeding the 17-pages allowed by Rule 7.2(e)(1). They seek the same

17   number of pages as if each were filing a separate motion. The Plaintiff/Counterdefendant
18   objects.

19            The Court agrees that Defendants/Counterclaimants should file a consolidated

20   dispositive motion because the case overlaps between the two. The Court will approve an
21   over-page motion to the extent it is necessary to fully address the issues. The
22   Defendants/Counterclaimants may re-urge the request to exceed the page limit when they

23   file the dispositive motion. In this way the Court will be able to assess the need for extra

24   pages.

25            Accordingly,

26            IT IS ORDERED that the Motion to Consolidate Motions for Summary Judgment
27   and Equal the Page Limitation for the Two Motions (Doc. 203) is GRANTED IN PART
28   AND DENIED IN PART.
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 1          IT IS FURTHER ORDERED that the Defendants/Counterclaimants shall file a
 2   consolidated dispositive motion.
 3          IT IS FURTHER ORDERED that the request to file a dispositive motion
 4   exceeding the 14-page limit is DENIED without prejudice to being reurged simultaneously
 5   with the filing of the dispositive motion.
 6                 IT IS FURTHER ORDERED that if any Response or Reply to the
 7   consolidated dispositive motion needs extra pages, any request to exceed the page limit
 8   shall be filed simultaneous with the over-length brief.
 9                 Dated this 20th day of September, 2023.
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